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                          Exhibit D
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           An official website of the United States Government Here's how you know




  Defeat Disinfo                                                                                                       




    Home > ... > Defeat Disinfo




         Defeat Disinfo



    Notice

    All good things must come to an end: with the start of the new year, the GEC’s Disinfo
    Cloud platform and the Disinfo Cloud Digest have been retired as GEC-sponsored efforts.
    However, the GEC’s work to elevate technology solutions to disinformation challenges
    continue with new projects designed to adapt to the current environment. Stay tuned for
    more information on the next iteration of this program!


    Disinfo Cloud Website

    Download Disinfo Cloud Flyer [1 MB]                  [1 MB] (PDF)

    Disinfo Cloud is an unclassified platform used by the U.S. government, foreign partners, and
    technology providers to identify and learn about technologies to counter adversarial propaganda
    and disinformation. Disinfo Cloud is also a gateway to the TE’s Testbed – established to rapidly
    identify, assess, test, and implement these technologies. TE invites all interested U.S. government
    stakeholders and foreign partners to sign up for an account on the Disinfo Cloud website. TE
    welcomes all feedback and is particularly interested in user requirements against which the
    technologies can be tested.
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    A Look Inside

    The dashboard shows the number of technologies currently on the testbed, the number of
    technologies at each stage of assessment, and the types of technologies they represent. Disinfo
    Cloud offers a continuously updated feed of the latest research, news and related events
    published by third parties.

    Disinfo Cloud offers a continuously updated newsfeed of the latest research, news and related
    events published by third parties.




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    Why Disinfo Cloud?




    Problem: The TE knows there are a wide range of propaganda and disinformation challenges
    faced by the U.S. government and foreign partners. The team seeks guidance and information
    from its members in order to identify challenges, needs, and test proposals.




    Tool: Disinfo Cloud permits stakeholders to search for assessed tools or technologies. The TE can
    help identify appropriate counter propaganda and disinformation tools and technologies to suit
    different groups’ needs.




    Solution: Write to inform TE or Disinfo Cloud what your office needs to counter propaganda and
    disinformation. Ask us for assistance in identifying a technological solution or draft a test
    proposal for a tool. Can’t find a tool that fits your needs? Let Disinfo Cloud know by using the blue
    and green feedback buttons. The team is open to insights and is here to help implement ideas to
    move the counter propaganda and disinformation mission forward.



    Disinfo Cloud and the Testbed are used by:

    Interagency

    The Census Bureau, U.S. Congress, Department of Defense, Department of Energy, Department
    of Homeland Security, Department, Department of state, Federal bureau of Investigation, Office
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    of Global Affairs, Office of the Director of National Intelligence, the Treasury Department, U.S.
    Agency for Global Media, U.S. Department of Agriculture


    Foreign Partners

    Australian Government, Estonian Government, European Union, and the United Kingdom
    Government


    Providers

    Including Academia, Private Sector, and Tech Vendors




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